Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 1 of 30 PageID #: 11863




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

    SECURITIES AND EXCHANGE
    COMMISSION,

                        Plaintiff,
                                             No. 21-cv-05350-PKC-RER
          v.
                                             JURY TRIAL DEMANDED
     RICHARD XIA, a/k/a YI XIA, et al.,

                        Defendants,

          and

     JULIA YUE, a/k/a JIQUING YUE, et al.,

                        Relief Defendants.


             DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
         THEIR MOTION TO VACATE OR MODIFY ASSET FREEZING ORDER
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 2 of 30 PageID #: 11864




                                                     TABLE OF CONTENTS


   INTRODUCTION .......................................................................................................................... 1

   FACTUAL BACKGROUND ......................................................................................................... 3

   LEGAL ARGUMENT .................................................................................................................... 7

      A.         The SEC is Not Entitled to Freeze More than $229 Million in Assets ........................... 7

      B.         Defendants Must be Given Credit for $318 Million in Reasonable
                 Business Expenses They Have Incurred ....................................................................... 10

      C.         The Freeze Order Must Be Reduced Because Nearly All of the
                 SEC’s Claims Are Time-Barred ................................................................................... 17

   CONCLUSION ............................................................................................................................. 24




                                                                        i
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 3 of 30 PageID #: 11865




                                                     TABLE OF CITATIONS


   CASES                                                                                                                          Page(s)

   Aristidou v. Aviation Port Services., LLC,
    No. 18-CV-4040 (MKB) (RER),
    2020 U.S. Dist. LEXIS 31348 (E.D.N.Y. Feb. 21, 2020)...........................................................10

   Benthos Master Fund, Ltd. v. Etra,
    No. 1:20-cv-03384 (AJN) (KHP),
    2022 U.S. Dist. LEXIS 45144 (S.D.N.Y. Mar. 14, 2022) ..........................................................10

   Bowen v. Georgetown University Hospital,
    488 U.S. 204 (1988) ..............................................................................................................19, 22

   Charas v. Sand Technology Systems International, Inc.,
    90 Civ. 5638 (JFK),
    1992 U.S. Dist. LEXIS 15227 (S.D.N.Y. Oct. 7, 1992) .......................................................13, 14

   Chemical Bank v. Arthur Andersen & Co.,
    726 F.2d 930 (2d Cir.),
     cert. denied, 469 U.S. 884 (1984) ..............................................................................................13

   Diaz v. Johnson & Johnson,
    No. 19-CV-6929 (LJV) (MWP),
    2021 U.S. Dist. LEXIS 137083 (W.D.N.Y. July 22, 2021) ........................................................21

   In re Enterprise Mortgage Acceptance Co. Securities Litigation,
     391 F.3d 401 (2d Cir. 2004)......................................................................................19, 20, 22, 23

   Kokesh v. SEC,
    137 S. Ct. 1635 (2017) ................................................................................................................18

   Landgraf v. Usi Film Products,
    511 U.S. 244 (1994) ........................................................................................................19, 22, 23

   Liu v. SEC,
     140 S. Ct. 1936 (2020) ........................................................................................................ passim

   Marine Bank v. Weaver,
    455 U.S. 551 (1982). ...................................................................................................................13

   SEC v. Callahan,
    No. 12-CV-1065 (ADS) (AYS),
    2015 U.S. Dist. LEXIS 178114 (E.D.N.Y. Dec. 24, 2015) ..................................................15, 24



                                                                       ii
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 4 of 30 PageID #: 11866




   SEC v. Cioffi,
    868 F. Supp. 2d 65 (E.D.N.Y. 2012) ..........................................................................................17

   SEC v. Curative Biosciences,
    No. 8:18-cv-00925-SVW,
    2020 U.S. Dist. LEXIS 246382 (C.D. Cal. Oct. 22, 2020) .........................................................11

   SEC v. Drexel Burnham Lambert, Inc.,
    837 F. Supp. 587 (S.D.N.Y. 1993)..............................................................................................22

   SEC v. Genovese,
    553 F. Supp. 3d 24 (S.D.N.Y. 2021)...........................................................................................11

   SEC v. Microtune, Inc.,
    783 F. Supp. 2d 867 (N.D. Tex. 2011) .......................................................................................18

   SEC v. Sason,
   433 F. Supp. 3d 496 (S.D.N.Y. 2020)............................................................................................18

   SEC v. Unifund Sal,
    910 F.2d 1028 (2d Cir. 1990)..........................................................................................15, 16, 24

   SEC v. Zandford,
    535 U.S. 813 (2002) ....................................................................................................................13

   Superintendent of Insurance v. Bankers Life & Casualty Co.,
     404 U.S. 6 (1971) ........................................................................................................................13

   United Housing Foundation, Inc. v. Forman,
    421 U.S. 837, 852 (1975) ............................................................................................................13

   United States v. O’Hagan,
    521 U.S. 642 (1997) ....................................................................................................................13

   United States v. Zaslavskiy,
    No. 17-CR-647(RJD),
    2018 U.S. Dist. LEXIS 156574 (E.D.N.Y. Sep. 11, 2018).........................................................13

   United States SEC v. Ahmed,
    No. 3:15cv675 (JBA),
    2018 U.S. Dist. LEXIS 242717 (D. Conn. Mar. 26, 2018).............................................15, 16, 23

   Weingarten v. United States,
    865 F.3d 48 (2d Cir. 2017)..............................................................................................19, 22, 23




                                                                        iii
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 5 of 30 PageID #: 11867




   STATUTES & RULES

   Fed. R. Civ. P. Rule 37 ....................................................................................................................9

   National Defense Authorization Act for Fiscal Year 2021,
   Pub. L. No. 116-283, codified in part at 15 U.S.C. § 78u(d)(8)(A) (“NDAA”) .................... passim
    Section 6501................................................................................................................................20
    Section 6501(b) ...........................................................................................................................20

   Sarbanes–Oxley Act of 2002, Pub. L. No. 107-204, 116 Stat. 745
   codified in part at 28 U.S.C. § 1658(b) ....................................................................................19, 20
     Section 804(1) .......................................................................................................................19, 20

   Securities Act of 1933, 15 U.S.C. § 77a, et seq. (“Securities Act”)
    15 U.S.C. § 77q(a) (“Section 17(a)”) ......................................................................................3, 13

   Securities Exchange Act of 1934, 15 U.S.C. § 78a, et seq.
    15 U.S.C. § 78j(b) (“Section 10(b)”) ................................................................................3, 13, 18

   28 U.S.C. § 2462 ............................................................................................................................18

   17 C.F.R ¶ 240.10b-5 (“Rule 10b-5”) ..............................................................................................3




                                                                         iv
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 6 of 30 PageID #: 11868




          Defendants, Richard Xia (“Xia”) and Fleet New York Metropolitan Regional Center, LLC

   (“Fleet”), and Relief Defendant Julia Yue (“Yue”), by and through their undersigned counsel,

   hereby submit this Memorandum of Law in Support of Their Motion to Vacate or Modify Asset

   Freezing Order.

                                           INTRODUCTION

          On September 27, 2021, the SEC sought a temporary restraining order (the “Asset Freezing

   Order”) freezing Defendants’ assets “up to the amount of $229 million.” ECF Nos. 2, 2-1, and 8

   ¶ 2(a) at 2 (emphasis added). In presenting their one-sided version of the facts, the SEC claimed

   that an order freezing Defendants’ assets up to the amount of $229 million was “necessary . . . to

   protect this Court’s ability to award equitable relief in the form of disgorgement of illegal profits

   from securities law violations and civil penalties.” ECF No. 8 at 4 (proposed TRO) (emphasis

   added). The Court entered the Asset Freezing Order at 6:30 p.m. that day, freezing Defendants’

   assets “up to the amount of $229 million” – exactly as the SEC asked. ECF No. 95-1, ¶ 2(a) at 2

   (emphasis added). Despite the cap in the Asset Freezing Order (which the SEC requested), the

   SEC now claims to hold nearly $774 million in frozen assets – including approximately $76

   million in cash, $585 million in “as-is” real property on Union Street and Northern Boulevard in

   Queens, $84 million in earned tax credits, approximately $11 million in Defendants’ two pre-EB-

   5 income-producing properties, and more than $18 million in Mr. Xia’s personal real estate.

          At a settlement conference with the Court on June 28, 2022, Defendants asked the SEC to

   consent to release just the pre-EB-5 properties from the Asset Freezing Order. Had the SEC

   consented to Defendants’ modest request, it still would hold $763 million in frozen assets – more

   than three times as much as the total amount contributed by the EB-5 visa investors in both projects

   and $534 million more than was frozen by the Asset Freezing Order. The SEC has refused

   Defendants’ request, stubbornly insisting it is entitled to freeze all of Defendants’ assets despite
                                                    1
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 7 of 30 PageID #: 11869




   the cap in the Asset Freezing Order. Plainly, the SEC is not entitled to freeze Defendants’ assets

   above the cap of $229 million provided for – at the SEC’s request – in the Asset Freezing Order

   (ECF No. 95-1, ¶ 2(a) at 2).

          Moreover, under controlling Supreme Court precedent in Liu v. SEC, 140 S. Ct. 1936, 1940

   (2020), which requires the SEC to credit Defendants for their reasonable business expenses, the

   SEC is not entitled to any asset freeze at all because Defendants already have incurred reasonable

   expenses far above the total amount contributed by all the EB-5 visa investors in both projects. As

   discussed below and shown in detail in the accompanying Declaration of Michael Amideo

   (“Amideo Decl.”), the independent financial analyst retained to reorganize and standardize

   Defendants’ internal financial controls and business recordkeeping practices, Defendants have

   contributed more than $65.4 million of their own cash to both Projects: $35.8 million to the

   Mirage Project and $29.6 million to the Eastern Emerald Project. In addition to their cash

   contributions, Defendants have deferred more than $97.4 million in professional fees and rent

   to which they are contractually entitled: $70.7 million for the Eastern Mirage Project and $26.7

   million for the Eastern Emerald Project. Before the Asset Freezing Order was entered, Defendants

   incurred nearly $308 million in reasonable business expenses for both Projects, including $108

   million in hard costs for Eastern Mirage and $139 million in hard costs for Eastern Emerald. They

   have incurred $141.5 million for the Eastern Mirage Project and $165.3 million for the Eastern

   Emerald Project. To date, Defendants have incurred a net loss on both projects.

          Despite losing Liu in the Supreme Court, the SEC concealed these facts from the Court in

   seeking an asset freeze “up to the amount of $229 million.” The asset freeze does not give

   Defendants any credit to which they are entitled for those reasonable business expenses. To say

   nothing of the SEC’s arrogant insistence on ignoring the cap of $229 million in the Asset Freezing



                                                   2
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 8 of 30 PageID #: 11870




   Order, when Defendants’ reasonable business expenses are taken into consideration – as they must

   be under Liu – the Asset Freezing Order should be vacated, or certainly modified to reflect

   Defendants’ reasonable business expenses already incurred on both Projects.

          Following three years of investigation, the SEC did not even attempt to estimate the

   reasonable expenses or net profits earned when it sought its extraordinary ex parte relief which

   froze all of Defendants’ assets and put a halt to two major construction projects directly harming

   the “investors” the SEC claims to protect. If the SEC properly accounted to the Court for

   Defendants’ $308 million in costs for both Projects as it should have under Liu, the Asset Freezing

   Order never would have been entered. By now, the Eastern Mirage Project – which was at least

   80% complete when the Asset Freezing Order was entered – would have been finished, the 20-

   story mixed-use building would be leased and producing revenue, and all those EB-5 visa investors

   would have been repaid. And work on the Eastern Emerald Project would be well underway.

          Finally, nearly all of the SEC’s claims against Defendants were time-barred and

   extinguished under the applicable five-year statute of limitations long before the SEC commenced

   this action and long before Congress extended the statute of limitations in 2021. At most, as shown

   below, the SEC has timely claims for only 84 investors in one of the five partnerships at issue. If

   it is not vacated entirely, the Asset Freezing Order should be modified to reflect the fact that most

   of the SEC’s claims are untimely.

                                     FACTUAL BACKGROUND

          After investigating Defendants’ business activities for three years, the SEC commenced

   this civil enforcement action on September 27, 2021, accusing Defendants of violating Section

   17(a) of the Securities Act, 15 U.S.C. § 77q(a), Section 10(b) of the Securities Exchange Act of

   1934, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R. ¶ 240.10b-5. ECF

   No. 1. The alleged violations relate to the way Defendants have operated the partnerships
                                                    3
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 9 of 30 PageID #: 11871




   responsible for two real estate projects in Queens – the Eastern Mirage Project at 42-31 Union

   Street and the Eastern Emerald Project at 112-21 Northern Boulevard – with $228.5 million raised

   from 457 EB-5 visa investors seeking permanent residency in the United States. Id.

          On that same day, the SEC filed an emergency ex parte application seeking an order

   appointing a monitor and a temporary restraining order freezing Defendants’ assets “up to the

   amount of $229 million.” ECF Nos. 2, 2-1, and 8 ¶ 2(a) at 2 (emphasis added). In seeking the

   Asset Freezing Order, the SEC presented a heavily skewed, one-sided version of the facts and

   argued that an order freezing Defendants’ assets up to the amount of $229 million was “necessary

   . . . to protect this Court’s ability to award equitable relief in the form of disgorgement of illegal

   profits from securities law violations and civil penalties.” ECF No. 8 at 4 (proposed TRO)

   (emphasis added).

          The Court granted the SEC’s emergency ex parte application and entered the Asset

   Freezing Order at 6:30 p.m. that same day, freezing Defendants’ assets “up to the amount of $229

   million” – capping the asset freeze exactly as the SEC requested. ECF No. 95-1, ¶ 2(a) at 2

   (emphasis added). In doing so, the Court implicitly accepted the SEC’s ex parte argument that

   freezing Defendants’ assets up to the amount of $229 million would protect the Court’s ability to

   award any disgorgement of illegal profits and impose any civil penalties that the SEC might be

   able to achieve if it prevails on the merits. ECF No. 95-1 at 4 (emphasis added).

          Before the Asset Freezing Order was entered, Defendants had already contributed more

   than $31.6 million of their own cash to both Projects.1 Amideo Decl., ¶ 9 and Ex. A § 1. In



   1
    The SEC has made much of the fact that Mr. Xia withdrew $14 million from the Projects to
   purchase a family home in Oyster Bay – hardly the best way for an alleged fraudster to abscond
   with allegedly ill-gotten gains. In fact, Defendants have contributed three times more in cash than
   Mr. Xia withdrew to buy the home. Undoubtedly, Mr. Xia was entitled to that payment for the
   years of service he already had provided to both projects. Moreover, it is noteworthy that Mr. Xia
                                                     4
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 10 of 30 PageID #: 11872




    addition to contributing cash to both Projects, Defendants also paid $16.7 million in cash to

    acquire the land at 42-31 Union Street for the Eastern Mirage Project2 and $17 million in cash to

    purchase the land at 112-21 Northern Boulevard. Id. at ¶¶ 10-14 and Ex. A § 1. Defendants’ $65.3

    million in total cash and land contributions were in addition to the $228.5 million received from

    the EB-5 visa investors. Id. at ¶¶ 9-14 and Ex. A § 1.

           Defendants also have incurred significantly more reasonable business expenses for the

    Eastern Mirage and for Eastern Emerald Projects than just their cash contributions. Before the

    Asset Freezing Order was entered, Defendants had incurred a total of more than $247 million in

    hard business costs for both Projects. Amideo Decl., ¶ 18 and Ex. A § 2.

           In addition to the $16.7 million in cash Defendants paid for the land on Union Street, they

    also spent $91.3 million for construction costs3 and $16.7 million in deferred developer costs for

    the Eastern Mirage Project.4 Amideo Decl., ¶¶ 18-19 and Ex. A § 2. Leaving apart the ground lease

    rent they have deferred, Defendants’ hard business expenses incurred to date, including $16.7

    million in cash paid for the land and $91.3 million for construction, are $108.1 million for the


    had been negotiating the purchase of the home for years before buying it in 2021 and that he signed
    the sales contract a month before receiving the SEC’s Wells notice advising him that the SEC’s
    staff had “made a preliminary determination to recommend that the Commission file an
    enforcement action against” him. See Declaration of Mark C. Rifkin in Support of Defendants’
    Motion to Vacate or Modify Asset Freeze (“Rifkin Decl.”) filed herewith, ¶¶ 5-6 & Ex. C thereto.
    2
      The land on Union Street on which the Eastern Mirage Project is built is owned by E&Y
    Development Group (“E&Y”) and is leased to Fleet for 99 years. To date, Defendants have not
    received any rent for the land; they have deferred $53.9 million in land lease payments to which
    E&Y is contractually entitled. See Amideo Decl., ¶ 12 and Ex. A § 2.
    3
      Defendants have nearly completed construction of the 348,000 square foot, 20-story building at
    a cost of just $262.36 per square foot, just one-half of the average direct cost of approximately
    $500 per square foot for construction in New York City. See Rifkin Decl., Ex. A at 250.
    4
      Defendants have deferred a total of $70.6 million in rent ($53 million) and developer fees ($16.7
    million) on the Eastern Mirage Project to which they are entitled. See Amideo Decl., ¶¶ 12, 16 &
    17. The $70.6 million in deferred rent and developer fees on the Eastern Mirage Project is five
    times more than the $14 million Mr. Xia withdrew to purchase the Long Island home.

                                                     5
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 11 of 30 PageID #: 11873




    Eastern Mirage Project. Id. ¶¶ 18-19 and Ex. A § 2. Defendants received only $56 million from

    the EB-5 visa investors for the Eastern Mirage Project. Their hard expenses exceed the amount

    contributed by the Eastern Mirage investors by $52.1 million. Id. at ¶ 21 and Ex. A § 3.5

           Likewise, in addition to paying $17 million in cash for the land on Northern Boulevard,6

    Defendants also have incurred $104.5 million in site improvement costs7 and $17.5 million in

    deferred developer costs.8 Amideo Decl., ¶¶ 18-19 and Ex. A § 2. Thus, Defendants’ hard business

    expenses incurred to date are $139.0 million for the Eastern Emerald Project. Id. at ¶¶ 18-19 and

    Ex. A § 2. They received $172.5 million from EB-5 visa investors for the Eastern Emerald Project.

    Of that sum, $75.8 million remains on deposit at CTBC. Id. at ¶ 10. Thus, after excluding the cash

    on hand, Defendants’ hard business expenses exceed the amount contributed by the Eastern

    Emerald EB-5 visa investors and used for project-related expenses9 by $42.3 million. Id. at 21 and

    Ex. A § 3.10




    5
     Adding the additional deferred developer fees of $17.5 which Defendants claim for the Eastern
    Mirage Project, their total reasonable business expenses for Eastern Mirage are $124.8 million.
    See Amideo Decl., ¶¶ 16 & 18. These total expenses exceed the amount contributed by the EB-5
    visa investors by $68.8 million.
    6
     Defendants paid $17 million in cash to acquire the property on Northern Boulevard for the
    Eastern Emerald Project. Amideo Decl., ¶ 11 and Ex. A § 1.
    7
      Defendants have spent $104.5 million for clean-up of the site contamination, for which they
    earned $84 million in Brownfield tax credits. Amideo Decl., ¶ 18 and Ex. A § 2. The Brownfield
    tax credits belong to Defendants, who have contributed them to EEGH and EEGH II. Id., Ex. A §
    5.
    8
     Pursuant to the Private Offering Memorandum for EEGH, Defendants are entitled to management
    fees of $11.7 million to date. Pursuant to the Private Offering Memorandum for EEGH II, they are
    entitled to management fees of $5.6 million to date. Amideo Decl., ¶ 15; Rifkin Decl., Ex. C § 7.2.
    9
      Excluding the $74.9 million still on deposit at CTBC from the $172.5 million paid by the EB-5
    visa investors leaves the sum of $97.6 million capital contributed and used by the EB-5 visa
    investors.
    10
      Adding the additional deferred developer fees of $9.5 million which Defendants claim for the
    Eastern Emerald Project, their total reasonable business expenses for Eastern Emerald are $148.3
                                                    6
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 12 of 30 PageID #: 11874




              The real estate for both Projects recently was appraised by Colliers International Valuation

    & Advisory Services, a division of Colliers, a publicly traded and highly respected international

    commercial real estate and investment advisor, for a potential lender for both Projects. Copies of

    the two Colliers appraisal reports are attached as Exhibits A and B to the accompanying Rifkin

    Decl. Colliers has determined three different appraised values for each property: the “as-is” market

    value, the “as completed” value, and the “stabilized” value. Those appraised values11 are as

    follows:

                                    Eastern Mirage           Eastern Emerald         Combined Value
         As-Is Value                     $314,600,000              $270,200,200            $584,800,000
         As Completed Value              $318,000,000              $632,600,000            $950,600,000
         Stabilized Value                $345,950,000              $680,900,000          $1,026,850,000

    The appraisals were prepared by one of the nation’s most highly respected independent consultants

    acting for a sophisticated commercial lender prepared to invest hundreds of millions of dollars in

    both Projects. They were not prepared by or for Defendants; nor were they prepared in connection

    with any litigation. The SEC disputes these valuations; in fact, the SEC disputes any valuation of

    the real property. After three years of investigating Defendants before commencing suit and after

    a year of litigation, the SEC cannot – or more likely, it will not – place any value on the real estate.

                                           LEGAL ARGUMENT

              A.       The SEC is Not Entitled to Freeze More than $229 Million in Assets

              The Asset Freezing Order expressly caps the amount of assets that have been frozen. It



    million. See Amideo Decl., ¶¶ 17-18. Net of the cash still on hand, these total expenses exceed the
    amount contributed by the EB-5 visa investors by $51.8 million.
    11
      Colliers has appraised values on two assumptions: one assuming that the planned residential
    properties are held as rental properties and the other that the residential properties are sold as
    condominiums. For purposes of this memorandum, Defendants conservatively include only the
    appraisals based upon the rental assumption, which yields slightly lower appraised values.

                                                       7
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 13 of 30 PageID #: 11875




    provides that Defendants’ assets are frozen only “up to the amount of $229 million.” ECF No. 95-

    1, ¶ 2(a) at 2 (emphasis added). That is exactly the cap proposed by the SEC when it sought the

    Asset Freezing Order. ECF No. 8 at 4 (proposed TRO). Nonetheless, the SEC insists it is entitled

    to freeze all of Defendants’ assets as though the cap were not in the Asset Freezing Order.12

           By even the most conservative estimates – those provided by the Monitor – the SEC froze

    at least $317 million in assets: (i) $80,919,508.43 in cash; (ii) Brownfield tax credits of between

    $18,920,299.50 and $37,840,599.00; (iii) tangible property credits of between $17,500,000 and

    $35,000,000; (iv) real estate on Union Street in Queens with an “as-is” value between

    $149,000,000 and $177,000,000; and (v) real estate on Northern Boulevard with an “as-is” value

    between $51,000,000 and $59,000,000. See Monitor’s Report to the Court Pursuant to Paragraph

    11(b) of the Monitor Order, dated January 28, 2022 (ECF No. 53), at 27-28. Significantly, the

    Monitor did not include any of Defendants’ pre-EB-5 rental properties, which have a combined

    value of approximately $11 million, in its list of “current and potential sources of funds and assets

    which could be used to complete the projects, pay legitimate costs and expenses, and reimburse

    the investors.” Id. at 13-28. Those pre-EB-5 rental properties were disclosed by Mr. Xia in his

    sworn Affidavit of Richard Xia Regarding Court-Ordered Accounting filed on October 18, 2021.

    ECF No. 19-1 (filed under seal). Nonetheless, the Monitor chose not to include them in the assets



    12
       The SEC originally claimed it was entitled to freeze all the Defendants’ assets because the cap
    in the Asset Freezing Order pertained only to liquid assets (by which they mean cash), not to real
    estate – which, after three years of investigation and nearly a year of litigation, the SEC apparently
    believes has no value whatsoever. Such limiting language does not appear in the Asset Freezing
    Order. Alternatively, the SEC claims it is entitled to ignore the cap in the Asset Freezing Order
    because the sum of $229 million – which it proposed – is insufficient to cover Defendants’
    potential liability for disgorgement plus civil fines and penalties. It does so without considering
    either the limit on its ability to obtain disgorgement under Liu (by ignoring the enormous costs
    Defendants have incurred to date) or the limit on its ability to recover civil fines and penalties. In
    fact, the SEC never will be able to recover anything even close to $229 million in this case.

                                                      8
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 14 of 30 PageID #: 11876




    he listed as available to complete the projects, pay legitimate costs and expenses, and reimburse

    the investors.

           According to the appraisals recently prepared by Colliers for the C-PACE lender, the SEC

    actually holds nearly $774 million in frozen assets:

                    Approximately $75.8 million in cash on hand (as to which there is no dispute)
                    $84 million in Brownfield Tax Credits (which are already earned)
                    $314.6 million for the “as-is” value of the Union Street property (including the
                     nearly complete 20-story mixed-use building)
                    $270.2 million for the “as-is” value of the Northern Boulevard property (including
                     the substantial site preparation work)
                    $11 million in pre-EB-5 rental properties
                    $18 million in personal real estate

    Rifkin Decl., Exs. A & B; Amideo Decl., ¶ 10. Under any measure – whether the Monitor’s ultra-

    conservative estimates or the more recent professional appraisals prepared for a potential lender

    by a highly respected independent appraiser are used – the SEC is grossly over-secured and

    substantially in violation of the express cap in the Asset Freezing Order.

           The SEC denies the values in both the Monitor’s report and those from Colliers. However,

    the Monitor’s conservative estimates and Colliers’s appraised values are the only valuations of the

    real estate before the Court. SEC has not put any value of its own on the properties. The SEC

    insists that both properties are subject to the Asset Freezing Order, but it will not recognize any

    value in either property. If the SEC demands that the properties are subject to the Asset Freezing

    Order, it must recognize that the properties have value. On the other hand, if the SEC refuses to

    recognize that the properties have any value, then it should agree to release those “worthless”

    properties to Defendants forthwith. The SEC cannot have it both ways.

           It is beyond dispute that all parties are bound by the Court’s orders. Indeed, Federal Rule

    of Civil Procedure 37 permits a court to sanction a party who refuses to comply with its orders.

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Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 15 of 30 PageID #: 11877




    Aristidou v. Aviation Port Servs., LLC, No. 18-CV-4040 (MKB) (RER), 2020 U.S. Dist. LEXIS

    31348, at *34 (E.D.N.Y. Feb. 21, 2020). A party “cannot pick and choose which aspects of

    a Court order he wishes to comply with.” Benthos Master Fund, Ltd. v. Etra, No. 1:20-cv-03384

    (AJN) (KHP), 2022 U.S. Dist. LEXIS 45144, at *34 (S.D.N.Y. Mar. 14, 2022). Like any other

    party, the SEC cannot choose which terms of the Asset Freezing Order it wants enforced and which

    it deems superfluous. This is certainly no less so – and perhaps more so – when the party proposes

    the very terms with which it later refuses to comply.

           Presumably, when the SEC sought the Asset Freezing Order – which it said was “necessary

    . . . to protect this Court’s ability to award equitable relief in the form of disgorgement of illegal

    profits from securities law violations and civil penalties” – and proposed the cap of “up to the

    amount of $229 million,” ECF No. 8 at 4 (emphasis added), it was satisfied that $229 million was

    sufficient protection. The SEC got exactly what it asked for: the Court froze Defendants assets “up

    to the amount of $229 million.” The SEC is bound by the terms of the Asset Freezing Order just

    as Defendants are bound by it. The SEC can no more ignore its terms than Defendants could.

           The Court should enforce compliance with the Asset Freezing Order and release all of

    Defendants’ frozen assets to the extent they exceed the amount of $229 million.

           B.      Defendants Must be Given Credit for $318 Million in Reasonable Business
                   Expenses They Have Incurred

           In Liu, 140 S. Ct. at 1940, the Supreme Court held that an SEC disgorgement recovery may

    not exceed the wrongdoer’s “net profits.” In that case, the defendants solicited nearly $27 million

    from foreign investors, promising that the bulk of the proceeds would be used to build a cancer-

    treatment center. Id. at 1941. They spent nearly $20 million on marketing expenses and salaries,

    not to build the medical center. Id. “Only a fraction of the funds were put toward” construction.

    Id. at 1942. The district court ordered disgorgement of the full amount the defendants raised from


                                                     10
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 16 of 30 PageID #: 11878




    the investors and imposed civil penalties, which the Ninth Circuit affirmed. Id. at 1942. The

    Supreme Court vacated the decision, holding that “Congress prohibited the SEC from seeking an

    equitable remedy in excess of a defendant’s net profits from wrongdoing.” Id. at 1946 (emphasis

    added).

              Consistent with Liu, a “disgorgement award may not ‘exceed the gains made upon any

    business or investment,’ [after] excluding legitimate business expenses.” SEC v. Genovese, 553

    F. Supp. 3d 24, 47 (S.D.N.Y. 2021) (quoting Liu, 140 S. Ct. at 1949-50) (emphasis added). To

    ensure that disgorgement orders fall within the traditional contours of equitable relief, the Supreme

    Court directed district courts to deduct “legitimate business expenses” from the award. SEC v.

    Curative Biosciences, No. 8:18-cv-00925-SVW, 2020 U.S. Dist. LEXIS 246382, at *15 (C.D. Cal.

    Oct. 22, 2020).

              The SEC recognizes – and implicitly concedes – the limit on its ability to obtain

    disgorgement. The SEC said the Asset Freezing Order was “necessary . . . to protect this Court’s

    ability to award equitable relief in the form of disgorgement of illegal profits from securities law

    violations and civil penalties.” ECF No. 8 at 4 (proposed TRO) (emphasis added). “Profit” is the

    amount by which revenue exceeds expenses. When expenses exceed revenue, as is the case here,

    there is a net loss, not a net profit.

              The SEC commenced this action more than a year after losing Liu in the Supreme Court.

    Despite the clear holding in Liu – which the SEC lost – despite conceding that its disgorgement

    claim is limited just to Defendants’ “illegal profits,” and after three years of exhaustive

    investigation, the SEC did not account for Defendants’ legitimate business expenses and made no

    showing of Defendants’ “net profits” from the Eastern Mirage and Eastern Emerald Projects.

    Indeed, the SEC did not even attempt to do so. The cap of $229 million in the emergency ex parte



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Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 17 of 30 PageID #: 11879




    relief the SEC sought and obtained – “freezing Defendants’ assets up to the amount of $229

    million” – is simply the total amount contributed by the EB-5 visa investors in both projects. That

    is not the measure of disgorgement or anything close to it.

           That Defendants have paid $318 million in reasonable business expenses – including $48.6

    million in cash which they contributed to both Projects and $97.4 million in deferred rent, fees,

    and other compensation to which they are contractually entitled – to build the 20-story mixed-use

    building on Union Street and to clean and prepare the construction site on Northern Boulevard

    does not fit the SEC’s theory of the case. The SEC has tried to convince the Court that Defendants

    lacked both the ability and the intention to complete either construction project. Despite the SEC’s

    effort, however, the Court recognized that Defendants care greatly to complete both Projects and

    have demonstrated their ability to do so. Tr. Feb. 16, 2022 at 663:11-17.

           The innovative and nearly completed 20-story mixed-use building on Union Street is direct

    and persuasive evidence of Defendants’ intention and ability to complete the work. Significantly,

    in its “as-is” appraisal of the Union Street property, Colliers has put a value of $46.8 million on

    the land at 42-31 Union Street. See Rifkin Decl., Ex. A at 255. The as-is valuation of the land

    strongly supports the reasonableness of Defendants’ $17 million in acquisition costs for the Union

    Street property. Colliers also put a value of $267.7 million on the building alone (which it estimates

    to be approximately 90% complete). See id. The as-is valuation of the building likewise strongly

    supports the reasonableness of Defendants’ $91.2 million in construction costs for the Eastern

    Mirage Project.

           Similarly, in its “as is” appraisal of the Northern Boulevard property, Colliers has put a

    value of $101,750,000 on the land at 112-21 Northern Boulevard. See Rifkin Decl., Ex. B at 226.

    The as-is land valuation reflects the enormous amount of clean-up and excavation work



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Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 18 of 30 PageID #: 11880




    Defendants have performed at the site. The land valuation and the $84 million of Brownfield tax

    credits together strongly support the reasonableness of Defendants’ $17 million in acquisition cost

    and their $112 million in remediation costs for the Eastern Emerald Project.

           The SEC cannot ignore any of these facts just because they do not fit its fanciful narrative.

           Apart from the fact that the EB-5 visa investments at issue in this case are not securities

    (and thus not subject to the SEC’s enforcement authority)13 and the fact that the alleged misconduct

    was not “in connection with” the purchase of any securities (and thus not actionable under the

    federal securities laws),14 the SEC did nothing to demonstrate that it was entitled to freeze up to


    13
       In all enforcement actions, the SEC must first demonstrate that the federal securities laws are
    applicable. That means the alleged wrongdoing “must involve a ‘security.’” See United States v.
    Zaslavskiy, No. 17-CR-647(RJD), 2018 U.S. Dist. LEXIS 156574, at *12 (E.D.N.Y. Sept. 11,
    2018). In United Housing Foundation, Inc. v. Forman, 421 U.S. 837, 852 (1975), the Supreme
    Court held that a security must involve “the presence of an investment in a common venture
    premised on a reasonable expectation of profits to be derived from the entrepreneurial or
    managerial efforts of others.” (Emphasis added.) Like the shareholder-tenants in Forman, who
    sought decent housing at an affordable price, the EB-5 visa applicants in this case invested
    primarily to qualify for permanent residence through the EB-5 program, not to earn a profit.
    Therefore they are not investors in “securities” subject to liability under either Section 17 of the
    1933 Act or Section 10(b) of the 1934 Act. They had no reasonable expectation of profit from their
    “investments,” and those investments are not securities. Because they are not securities, the SEC
    has no claim against Defendants. See 15 U.S.C. § 77q(a) (“unlawful for any person in the offer or
    sale of any securities. . .”) (emphasis added); 15 U.S.C. § 78j(b) (“unlawful for any person . . . [t]o
    use or employ, in connection with the purchase or sale of any security. . .”) (emphasis added).
    14
      When it enacted the federal securities laws, Congress “did not intend to provide a broad federal
    remedy for all fraud.” Marine Bank v. Weaver, 455 U.S. 551, 556 (1982). Instead, those statutes
    only apply to misrepresentations that are made “in connection with” a securities transaction. See
    SEC v. Zandford, 535 U.S. 813, 819 (2002) (misappropriation of cash); United States v. O’Hagan,
    521 U.S. 642, 656 (1997); Superintendent of Ins. v. Bankers Life & Cas. Co., 404 U.S. 6, 8 (1971)
    (misappropriation of cash). To satisfy the “in connection with” requirement, the alleged
    misrepresentation or omission must pertain to the securities themselves. Allegations of fraud
    merely involving the securities do not satisfy the requirement. See Chemical Bank v. Arthur
    Andersen & Co., 726 F.2d 930, 943 (2d Cir.), cert. denied, 469 U.S. 884 (1984).
       In Charas v. Sand Tech. Sys. Int’l, Inc., 90 Civ. 5638 (JFK), 1992 U.S. Dist. LEXIS 15227, at
    *22-23 (S.D.N.Y. Oct. 7, 1992), the Southern District dismissed a 10b-5 claim, holding:
         The misdeeds allegedly committed by Defendants generally bear no connection to the
         sale of Sand’s securities. . . . The Amended Complaint alleges that Shattner and Ritchie
                                                      13
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 19 of 30 PageID #: 11881




    $229 million of Defendants’ assets. The SEC simply – and lazily – used that sum as the cap because

    it was the total amount invested by the EB-5 visa applicants in both Projects. The SEC did not, as

    Liu requires, give Defendants credit for any of the reasonable business expenses they have incurred

    to date to bring both real estate development projects to fruition.

           Even a cursory review of Defendants’ records would have shown the SEC that Defendants

    already have contributed more than $48.6 million in cash to both Projects – $19.1 million to the

    Mirage Project and $29.6 million to the Eastern Emerald Project – above the $229 million received

    from the EB-5 investors. The SEC would have seen that, before the Asset Freezing Order was

    entered, Defendants already incurred more than $318 million in project costs for both Projects:

    $162 million for the Eastern Mirage Project and $156.7 million for the Eastern Emerald Project.

    The SEC concealed these facts from the Court when it sought to freeze Defendants’ assets “up to

    the amount of $229 million.” Because the SEC made no effort to disclose any of Defendants’

    expenses to the Court, the Asset Freezing Order does not give Defendants any credit to which

    they are entitled for those reasonable business expenses, which substantially exceed the amount

    of $229 million contributed by the EB-5 visa investors.

           The SEC refuses to acknowledge that Defendants have incurred any reasonable business

    expenses on either Project. The SEC ignores the fact that Defendants purchased the land on Union

    Street and have nearly completed construction of a state-of-the-art, 20-story building there – which



        deprived Sand of corporate opportunities and misused corporate funds, but does not
        allege that securities were sold based upon a representation that Sand would be investing
        in these (stolen) opportunities. Further, while Plaintiffs allege that Ritchie took funds
        from Sand beginning in 1985 for “unsupported personal expenses,” they fail to link that
        alleged activity to the sale of Sand securities that occurred two years later. . . . That is
        insufficient to satisfy the “in connection with” requirement of Rule 10b-5.
    Id. (emphasis added).


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Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 20 of 30 PageID #: 11882




    would be complete, operating, and generating revenue today but for the asset freeze – at a cost of

    more than $156.7 million. The SEC also ignores the fact that Defendants purchased the land on

    Northern Boulevard and have performed substantial site remediation and foundation work for the

    construction project at a cost of nearly $161.2 million.

           After all those costs are properly accounted for and Defendants are given the credit to

    which they are entitled for their reasonable business expenses of $318 million – as they must be

    under Liu – no disgorgement may be awarded in this case. That is, even if the SEC had claims

    against Defendants under the federal securities laws (which it does not), and even if the SEC could

    prove those claims (which it cannot), at the end of the day, the SEC cannot prove it is entitled to

    the equitable remedy of disgorgement because Defendants have earned no profit from either

    Project. To the contrary, they have incurred a net loss of nearly $90 million on both Projects. If

    the SEC could prevail on the merits – which Defendants vigorously dispute – this case will yield

    zero in disgorgement after Defendants’ $318 million in reasonable business expenses are

    deducted, as they must be under the Supreme Court’s controlling decision in Liu.

           The Asset Freezing Order should be no larger than Defendants’ potential liability. See SEC

    v. Unifund Sal, 910 F.2d 1028, 1042 (2d Cir. 1990) (freeze order must be proportional to “relief

    ‘of the same character as that which may be granted finally’”) (quoting De Beers Consolidated

    Mines, Ltd. v. United States, 325 U.S. 212, 220 (1945)); SEC v. Callahan, No. 12-CV-1065

    (ADS)(AYS), 2015 U.S. Dist. LEXIS 178114, at *7 (E.D.N.Y. Dec. 24, 2015) (quoting SEC v.

    Banner Fund Int’l, 211 F.3d 602 (D.C. Cir. 2000)) (amount that may be frozen must take into

    account the amount defendant may be required to disgorge); United States SEC v. Ahmed, No.

    3:15cv675 (JBA), 2018 U.S. Dist. LEXIS 242717, at *6 n.3 (D. Conn. Mar. 26, 2018). In Unifund,

    an insider trading case, the Second Circuit held that the SEC was not entitled to an Asset Freezing



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Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 21 of 30 PageID #: 11883




    Order that exceeded the SEC’s potential recovery of disgorgement and civil fines and penalties.

    910 F.2d at 1042.

              The asset freeze should have been no greater than an amount necessary to cover

    Defendants’ potential liability to the 84 EEGH II investors after March 27, 2016, – the only timely

    claims in the SEC’s action against them. Each “investor” in both the Eastern Emerald and Eastern

    Mirage Projects contributed $500,000 to one of five limited partnerships. See ECF No. 98, ¶ 5 at

    3. Even accounting for the modest 2% gross interest on their “investments” provided for in the

    offering memorandum for the EEGH II limited partnership,15 and after deducting their annual

    $7,500 management fees (leaving apart their proportionate share of the construction expenses), the

    total expected return for the 84 EEGH II visa investors will be $43.9 million upon maturity of their

    loans in 2025, including repayment of the $42 million originally invested, for a paltry expected

    gross profit of just $1.9 million (or $22,500 each for the 84 investors).16 That equals a gross return

    of only 4.5% after nine years, or just 0.5% annually. In addition, after deducting their proportionate

    share of the construction expenses – even just those expenses already incurred to date – the total

    expected amount to be returned to the 84 investors in 2025 would be less than the amount they

    invested. Plainly, the current Asset Freezing Order grossly exceeds Defendants’ potential

    disgorgement liability to those EEGH II EB-5 visa investors after accounting for the miniscule

    return they “invested” for and the business expenses the partnership has incurred to date.


    15
         See Rifkin Decl., Ex. C at 14.
    16
         The total expected return at maturity for those 84 investors is calculated as follows:
           $ 42,000,000 invested
           + $7,560,000 (9 years of interest @ 2%)
           $ 49,560,000
           - $ 5,670,000 (9 x $7,500 annual management fees for 84 investors)
           $ 43,890,000
    See also Amideo Decl., Ex. A § 7 (calculating return through July 31, 2022).

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Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 22 of 30 PageID #: 11884




           Moreover, the SEC’s authority to seek civil fines and penalties is not unlimited. It may

    seek disgorgement of any ill-gotten gains and, in addition, it may seek penalties ranging from

    $5,000 to $100,000 for individual defendants and from $50,000 to $500,000 for entity defendants,

    depending on the nature of the violation. See SEC v. Cioffi, 868 F. Supp. 2d 65, 70 (E.D.N.Y.

    2012) (citing 15 U.S.C. § 78u(d)(3)(B)). The maximum potential penalty may be increased to the

    “gross amount of pecuniary gain” by the defendant in any case where it exceeds the fixed

    penalty. Id. The SEC has provided no justification for its extraordinary demand for imposition of

    penalties of $5 million from Mr. Xia and $28 million from Fleet in addition to “disgorgement” of

    $229 million from both Defendants. Given that the amount of disgorgement should be zero in this

    case, the SEC should not recover any civil fines or penalties from either Defendant.

           The SEC should not be heard to argue that the additional protection in the Asset Freezing

    Order is needed for civil fines and penalties. The SEC previously told the Court it was necessary

    to freeze Defendants’ assets only “up to the sum of $229 million” to protect the Court’s ability to

    award disgorgement of illegal profits and civil penalties. See ECF No. 8 at 4 (proposed TRO). The

    SEC cannot backtrack from its own explicit representation simply because it is now being made

    to comply with Liu.

           C.      The Freeze Order Must Be Reduced Because Nearly All of the SEC’s Claims
                   Are Time-Barred

           Finally, even if the SEC could somehow show it is entitled to recover any disgorgement

    from Defendants under the demanding “net profit” standard of Liu, the Court must reduce the

    amount of the asset freeze because nearly all of the claims are time-barred.17




    17
      Defendants first raised this issue in their TRO response brief, filed on May 11, 2022. ECF No.
    124.

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Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 23 of 30 PageID #: 11885




           Like every other litigant, the SEC is subject to statutes of limitation that extinguish stale

    claims. For the entire time it investigated Defendants, the SEC was subject to a strict five-year

    statute of limitations under which it cannot maintain any “action, suit or proceeding for the

    enforcement of any civil fine, penalty, or forfeiture, pecuniary or otherwise . . . unless commenced

    within five years from the date when the claim first accrued.” 28 U.S.C. § 2462 (emphasis

    added).18 “[D]isgorgement actions must be commenced within five years of the date the claim

    accrues.” Kokesh v. SEC, 137 S. Ct. 1635, 1639 (2017) (construing 28 U.S.C. § 2462).

           For the five sets of EB-5 loans at issue, the five-year statute of limitations commenced and

    expired as follows:

                                                                       Date Statute of
                 Issuer                    Date of Offering
                                                                       Limitations Expired
                 EMMCO                     August 3, 2010              August 3, 2015
                 EMMCO NQMC                January 26, 2011            January 26, 2016
                 EMMCO TOWER               December 21, 2011           December 21, 2016
                 EEGH                      March 31, 2014              March 31, 2019
                 EEGH II                   October 18, 2015            October 18, 2020

    All but the SEC’s claims based on the EEGH II offering are untimely and were long ago barred by

    the applicable five-year statute of limitations, and many of the EEGH II visa investments were

    made outside the five-year limitations period as well.

           In their reply brief in support of the TRO, the SEC invokes the National Defense

    Authorization Act for Fiscal Year 2021, Pub. L. No. 116-283 (“NDAA”), which established a ten-

    year statute of limitations for SEC disgorgement claims and other equitable claims based on certain


    18
      The Section 10(b) claim “accrue[d] when the allegedly false or misleading statement was made.”
    SEC v. Microtune, Inc., 783 F. Supp. 2d 867, 888-89 (N.D. Tex. 2011) (citations omitted). The
    Section 17(a) claim likewise accrued when the “defendant’s allegedly fraudulent conduct occurs.”
    SEC v. Sason, 433 F. Supp. 3d 496, 507-08 (S.D.N.Y. 2020) (citing Gabelli v. SEC, 568 U.S. 442,
    448 (2013)).

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Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 24 of 30 PageID #: 11886




    securities law violations. ECF No. 132 at 4-5 (citing 15 U.S.C. §§ 78u(d)(8)(A)(ii) and (B)). The

    SEC argues that the NDAA revived their already-extinguished claims.

           The NDAA cannot be given retroactive effect to resurrect already extinguished claims.

    “[T]he resurrection of previously time-barred claims has an impermissible retroactive effect.” In

    re Enterprise Mort. Acceptance Co. Sec. Litig., 391 F.3d 401, 410 (2d Cir. 2004) (emphasis added).

    Citing Landgraf v. Usi Film Prods., 511 U.S. 244 (1994),19 and Bowen v. Georgetown Univ. Hosp.,

    488 U.S. 204, 208 (1988), the Second Circuit held:

           Extending the statute of limitations retroactively “increase[s] [a defendant’s]
           liability for past conduct” . . . by increasing the period of time during which a
           defendant can be sued. This effect is particularly prevalent in the context of claims
           that have already expired. Resurrection of such claims puts defendants back at risk
           at a point when defendants reasonably believe they are immune from
           litigation, stripping them of a complete affirmative defense they previously
           possessed and may have reasonably relied upon.

    Enterprise, 391 F.3d at 410 (citations omitted). That reasoning applies exactly to this case, where

    the SEC seeks to invoke the NDAA to resurrect claims that were expired. 20 The Second Circuit’s

    decision in Enterprise is on point and controlling.

           The SEC attempts to distinguish Enterprise on the threadbare basis that it concerned the

    retroactivity of the Sarbanes-Oxley Act, which extended the statute of limitations for private

    securities law claims, rather than the NDAA. See ECF No. 132 at 4-5. In Section 804(1) of the

    Sarbanes-Oxley Act, Congress provided that that new statute of limitations “shall apply to all

    proceedings addressed by this section that are commenced on or after the date of enactment of this



    19
       In Landgraf, the Supreme Court held that the Constitution “flatly prohibits retroactive
    application of penal legislation,” and that “[r]etroactivity is not favored in the [civil] law.” 511
    U.S. at 266.
    20
      Courts routinely recognize a difference between merely extending a filing period for live claims
    and revoking an already-vested statute of limitations defense. Weingarten v. United States, 865
    F.3d 48, 57-58 (2d Cir. 2017) (collecting cases). This case falls in the latter category.

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Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 25 of 30 PageID #: 11887




    Act.” Enterprise, 391 F.3d at 406 (citing Pub. L. No. 107-204 § 804, 116 Stat. 745, 801 codified

    in part at 28 U.S.C. § 1658(b)). The SEC attempts to distinguish Section 804(1) of the Sarbanes-

    Oxley Act from Section 6501 of the NDAA, which provides that the new limitations period “shall

    apply with respect to any action or proceeding that is pending on . . . the date of enactment.” See

    ECF No. 132 at 7 (quoting NDAA § 6501(b)). The SEC says that language makes the NDAA

    retroactive.

           Plainly, Section 6501(b) of the NDAA is virtually identical to Section 804(1) of the

    Sarbanes-Oxley Act. There simply is no difference between the phrase “commenced on or after

    the date of enactment of this Act” in the Sarbanes-Oxley Act and the phrase “pending on . . . the

    date of enactment” in the NDAA. An action that is commenced “on . . . the date of enactment” is

    “pending on . . . the date of enactment.” The Second Circuit’s refusal to give “impermissible

    retroactive effect” to § 804(1) of the Sarbanes-Oxley Act applies fully and completely to the

    virtually identical language in § 6501 of the NDAA.21

           The SEC knows well that Section 6501 does not apply retroactively. Indeed, the SEC

    admits that “Section 6501(b) does not revive a ‘time-barred’” cause of action.” ECF No. 132 at 6

    (emphasis added). Then, oddly, the SEC argues that the NDAA nonetheless “expands the scope of

    the SEC’s disgorgement remedies in actions like this one that are brought after the NDAA’s

    enactment.” Id. The SEC does not even attempt to explain that obvious inconsistency.

           The SEC is not saved by two tolling agreements between the SEC and Defendants Xia and

    Fleet, which suspended the running of all applicable tolling for six months, beginning on




    21
      Of course, this action was not commenced until September 27, 2021, and thus was not “pending
    on . . . the date of enactment” – which, according to the SEC, is what gives the NDAA its allegedly
    retroactive effect.

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Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 26 of 30 PageID #: 11888




    September 10, 2019, through March 9, 2020.22 The six-month tolling agreements did not revive

    the SEC’s already-expired claims.

              A tolling agreement does not revive an already extinguished claim. Diaz v. Johnson &

    Johnson, No. 19-CV-6929-LJV-MWP, 2021 U.S. Dist. LEXIS 137083, at *9 (W.D.N.Y. July 22,

    2021) (tolling agreement did not revive already untimely claim).23 The tolling agreements here

    confirmed that result:

              nothing in this agreement shall affect any applicable statute of limitations defense
              or any other time-related defense that may be available to [the tolling parties] before
              the commencement of the tolling period or be construed to revive any proceeding
              that may be barred by any applicable statute of limitations or any other time-related
              before the commencement of the tolling period.

    See Declaration of Mark C. Rifkin in Support of Defendants’ Post-Trial Memorandum (ECF No.

    125), ¶¶ 2-3 and Exhibits A and B (ECF Nos. 125-1 & 125-2). The tolling agreements expressly

    preserved Defendants’ vested statute of limitations defense to the SEC’s claims as to four of the

    five loans at issue here, which were extinguished long before the tolling period commenced.

              The SEC commenced this action on September 27, 2021. After adding the six-month

    tolling period to its claims, any claims that accrued before March 27, 2016, were time-barred and

    extinguished under the tolling agreements. All the EB-5 visa investors in the EMMCO, EMMCO

    NQMC, EMMCO Tower, and EEGH offerings invested before March 27, 2016, In addition, 41 of

    the investors in the EEGH II offering invested their money before March 27, 2016.24 Only 84

    investors in EEGH II invested after that date. Thus, the SEC’s claims for all the investors in


    22
       The tolling agreements literally refer to a tolling period “beginning on September 10, 2019,
    through March 19, 2019,” but obviously meant ending on March 19, 2020. Defendants do not need
    to take advantage of the SEC’s obvious and immaterial clerical mistake.
    23
         The SEC does not argue otherwise in its reply brief. See ECF No. 132.
    24
      Though not relevant, Defendants note that one of those 41 early investors withdrew his $500,000
    investment in April, 2019, leaving only a total of 125 investors in EEGH II.

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Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 27 of 30 PageID #: 11889




    EMMCO, EMMCO NQMC, EMMCO Tower, and EEGH, and for all but those 84 investors in

    EEGH II, are time-barred.

            The SEC’s stale claims are not saved by any extension of the statute of limitations. The

    National Defense Authorization Act, 15 U.S.C. § 78u(d)(8)(A), which became effective on January

    1, 2021, provides for a 10-year statute of limitations on the SEC’s claims in this case. However,

    that statute, likewise, does not revive claims which were previously extinguished. Defendants are

    unaware of any court applying 15 U.S.C. § 78u(d)(8)(A) retroactively. 25 The Constitution “flatly

    prohibits retroactive application of penal legislation,” Landgraf, 511 U.S. at 266, and

    “[r]etroactivity is not favored in the [civil] law.” Bowen, 488 U.S. at 208.

            In Landgraf, the Supreme Court established a two-part test to determine whether a statute

    applies retroactively. Under the first part of the test, if Congress “expressly prescribed” that the

    statute applies retroactively, “the inquiry ends . . . and the court enforces the statute as it is written.”

    Enterprise, 391 F.3d at 405-06 (quoting Landgraf). Congress did not provide that 15 U.S.C. §

    78u(d)(8)(A) would apply retroactively. Under the second part of the test, when, as here, a statute

    “is ambiguous or contains no express command,” the Court “must determine whether applying the

    statute to antecedent conduct would create presumptively impermissible retroactive effects.”

    Weingarten, 865 F.3d at 55 (citing Enterprise, 391 F.3d at 406).

            Applying 15 U.S.C. § 78u(d)(8)(A) retroactively after the existing five-year statute of

    limitations already expired in this case would create presumptively impermissible retroactive

    effects. In Enterprise, the Second Circuit held that “the resurrection of previously time-barred



    25
      In SEC v. Drexel Burnham Lambert, Inc., 837 F. Supp. 587, 613-14 (S.D.N.Y. 1993), the Second
    Circuit held that only the officer and director bar provision of 15 U.S.C. § 78u(8)(A) could be
    applied retroactively. Congress explicitly provided that the statute’s monetary penalty provisions
    could not be applied retroactively.

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Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 28 of 30 PageID #: 11890




    claims has an impermissible retroactive effect.” 391 F.3d at 410 (emphasis added). Citing

    Landgraf, the Second Circuit explained:

            Extending the statute of limitations retroactively “increase[s] [a defendant’s]
            liability for past conduct” . . . by increasing the period of time during which a
            defendant can be sued. This effect is particularly prevalent in the context of claims
            that have already expired. Resurrection of such claims puts defendants back at risk
            at a point when defendants reasonably believe they are immune from
            litigation, stripping them of a complete affirmative defense they previously
            possessed and may have reasonably relied upon.

    Id. (citations omitted).26

            When Congress enacted 15 U.S.C. § 78u(d)(8)(A) in 2021, the original five-year statute of

    limitations on the SEC’s claims already had expired and Defendants’ statute of limitations defense

    had vested. For four of the five EB-5 loans, the statutes of limitations expired more than four or

    five years before the new limitations period was established. Even accounting for the six-month

    tolling period, the five-year statute of limitations on the SEC’s claims as to those four loans expired

    nearly a year before 15 U.S.C. § 78u(d)(8)(A) was enacted. Defendants’ statute of limitations

    defense as to those four series of EB-5 loans had vested and could not be set aside by the passage

    of 15 U.S.C. § 78u(d)(8)(A). Those time-barred claims were extinguished and could not be

    revived.

            In Ahmed, 2018 U.S. Dist. LEXIS 242717, at *6, the district court modified an asset freeze

    based upon the five-year statute of limitations “to remove disgorgement associated with fraud

    executed more than five years prior to the filing of the related claims.” The SEC should have

    excluded all the untimely claims from its request for civil penalties, and hence from its request for

    an asset freeze. See id. at *6 & n.3.


    26
      Courts routinely recognize a difference between merely extending a filing period for live claims
    and revoking an already-vested statute of limitations defense. Weingarten, 865 F.3d at 57-58
    (collecting cases). This case falls in the latter category.

                                                      23
Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 29 of 30 PageID #: 11891




            The asset freeze should have been no greater than an amount necessary to cover

    Defendants’ potential liability to the 84 EEGH II investors after March 27, 2016, – the only timely

    claims in the SEC’s action against them. As discussed above, at $500,000 each, those 84 EB-5

    visa investors together “invested” $42 million in the Eastern Emerald project. Even accounting for

    the modest 2% gross interest on their loans, and after deducting their annual $7,500 management

    fees (leaving apart their proportionate share of the construction expenses), their total return would

    be no more than $43.9 million upon maturity of their loans in 2025. And, after accounting for their

    proportionate share of the partnership’s operating expenses (just those expenses incurred to date),

    their total net return would be less than the amounts they invested.

            The current Asset Freezing Order is five times greater than Defendants’ potential

    disgorgement liability to the 84 EEGH II EB-5 visa investors after March 27, 2016. See Unifund,

    910 F.2d at 1042 (freeze order must be proportional to “relief of the same character as that which

    may be granted finally”) (internal quotation omitted); Callahan, 2015 U.S. Dist. LEXIS 178114,

    at *7 (amount that may be frozen must take into account the amount defendant may be required to

    disgorge).27 It must be reduced to reflect that potential liability.

                                               CONCLUSION

            For all the foregoing reasons, the Court should vacate or modify the Asset Freezing Order

    after giving Defendants credit for their reasonable business expenses as required under Liu. In any

    event, the Asset Freezing Order should be no greater than the SEC’s timely disgorgement claims.


    27
      The asset freeze cannot impose unfair financial hardships upon Defendants or prevent them from
    paying for their living expenses, business expenses, and attorney’s fees. See Unifund, 910 F.2d at
    1042. Though not addressed directly in this motion because the relief sought will obviate the need
    for such relief, if the Court denies the motion to vacate or modify the Asset Freezing Order and
    also declines to give Defendants access to their assets in excess of $229 million, Defendants and
    Yue will promptly move for an order permitting payment of their living expenses, business
    expenses, and attorneys’ fees.

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Case 1:21-cv-05350-PKC-RER Document 179 Filed 09/23/22 Page 30 of 30 PageID #: 11892




    In the alternative, at a bare minimum, the Court should give Defendants immediate access to all

    their assets in excess of the $229 million cap in the Asset Freezing Order.

    Dated: August 15, 2022                               MEYER, SUOZZI, ENGLISH
                                                         & KLEIN, P.C.

                                                 By:      s/ Randall T. Eng
                                                         Randall T. Eng
                                                         900 Stewart Avenue
                                                         Suite 300
                                                         Garden City, NY 11530
                                                         (516) 741-6565
                                                         reng@msek.com

                                                         WOLF HALDENSTEIN ADLER
                                                         FREEMAN & HERZ LLP

                                                    By: s/ Mark C. Rifkin
                                                       Mark C. Rifkin
                                                       Benjamin Y. Kaufman
                                                       Robert Y. Altchiler
                                                       270 Madison Avenue
                                                       9th Floor
                                                       New York, NY 10016
                                                       (212) 545-4600
                                                       rifkin@whafh.com
                                                       kaufman@whafh.com
                                                       altchiler@whafh.com

                                                         Attorneys for Defendants and
                                                         Relief Defendant Yue




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